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    ________________________________________________________________________

                        IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, CENTRAL DIVISION
   ________________________________________________________________________

UNITED STATES OF AMERICA,                  :        Case No. 2:18-CR-365-JNP-BCW

                      Plaintiff,           :        GOVERNMENT’S MOTION TO SEAL
                                                    ECF 553
       v.                                  :

LEV ASLAN DERMEN,                          :        District Judge Jill N. Parrish
  a/k/a Levon Termendzhyan,                         Magistrate Judge Brooke C. Wells
                                           :
                      Defendant.
                                           :



       The United States of America moves this Court for an order sealing the government’s

August 30, 2019 reply to Defendant Dermen’s response to the government’s motions to seal,

ECF 553. DUCrimR 49-2(b). The government’s filing cites extensively to other sealed filings

and should be sealed for the reasons stated in the government’s August 19, 2019 motion to seal,

ECF 496. The sensitive information is interwoven into the government’s filing such that

redaction is impracticable. Accordingly, the government respectfully move the Court to docket


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the government’s August 30, 2019 reply to Defendant Dermen’s response to the government’s

motions to seal, ECF 553, under seal.

              Respectfully submitted this 30th day of August, 2019.

                                                   JOHN W. HUBER
                                                   United States Attorney

                                                   /s/ Arthur J. Ewenczyk
                                                   ARTHUR J. EWENCZYK
                                                   LESLIE A. GOEMAAT
                                                   RICHARD M. ROLWING
                                                   Special Assistant United States Attorneys
                                                   JOHN E. SULLIVAN
                                                   Senior Litigation Counsel




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                                        Certificate of Service


                I certify that on this 30th day of August, 2019, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF electronic filing system, which will send notice of
electronic filing to counsel of record in this case.



                                                       /s/ Arthur J. Ewenczyk
                                                       ARTHUR J. EWENCZYK
                                                       Special Assistant United States Attorney




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